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1    DAVID A. TORRES AND ASSOCIATES
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5    Attorney for:
     CORAL HERRERA
6

7                             IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
9
                                                       ) Case No.: 16-CR-00106 LJO-SKO
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        ) DEFENDANTS REQUEST AND WAIVER
                                                       ) OF APPEARANCE, AND ORDER
12           vs.                                       )
                                                       )
13   CORAL HERRERA,                                    )
                                                       )
14                   Defendant                         )
15           Defendant, CORAL HERRRA, hereby waives her appearance in person in open court
16   upon the Status Conference and Motion Hearing set for October 17, 2016 at 1:00 p.m.in
17   Courtroom 7 of the above entitle court. Defendant hereby requests the court to proceed in her
18   absence and agrees that her interest will be deemed represented at said hearing by the presence of
19   her attorney, DAVID A. TORRES. Defendant further agrees to be present in person in court at
20   all future hearing dates set by the court including the dates for jury trial.
21

22   Date:10/13/16                                                   _/s/Coral Herrera_______ ___
23
                                                                     CORAL HERRERA

24
     Date:10/13/16                                                   _/s/David A. Torres______ ___
25                                                                   DAVID A. TORRES
                                                                     Attorney for Defendant




                       DEFENDANTS REQUEST AND WAIVER OF APPEARANCE - 1
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1
                                                ORDER
2
            Good cause appearing.
3
            IT IS HEARBY ORDERED that defendant CORAL HERRERA is hereby excused
4
     from appearing at this court hearing scheduled for October 17, 2016.
5

6    IT IS SO ORDERED.
7
        Dated:    October 14, 2016                              /s/ Sheila K. Oberto
8                                                     UNITED STATES MAGISTRATE JUDGE

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                      DEFENDANTS REQUEST AND WAIVER OF APPEARANCE - 2
